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                                                                             UNITED STATES DISTRICT COURT
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                                                                         SOUTHERN DISTRICT OF CALIFORNIA
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                                                   AUDREY ARRIOLA,                              CASE NO.: 3:20-cv-83-DMS-BGS
                                               9                                                [Removal from Superior Court of California, San Diego, Case
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                                                Plaintiff,                      No.: 37-2019-00064147-CU-PO-CTL]
                                              10
                                                         vs.                                    District Judge Dana M. Sabraw
                                              11                                                Magistrate Judge Bernard G. Skomal
                                                   CVS PHARMACY, a business
                                              12   organization form unknown; and DOES
                                                   1 through 10, Inclusive,                     ORDER OF DISMISSAL
                                              13
                                                                Defendants.
                                              14                                                ACTION FILED: 12/02/19
                                                                                                TRIAL DATE:   03/15/21
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                                                         Plaintiff, AUDREY ARRIOLA (“Plaintiff”) and Defendant, GARFIELD BEACH
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                                                   CVS, L.L.C., erroneously sued and served herein as CVS Pharmacy, Inc., (“Defendant”)
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                                                   (collectively, the “Parties”), stipulated and agree to dismiss the instant case, with prejudice.
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                                                         The Court, having considered the parties’ Joint Motion for Dismissal, is of the
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                                                   opinion that their request should be GRANTED and it is hereby ORDERED that Plaintiff,
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                                                   AUDREY ARRIOLA Complaint against Defendants, Garfield Beach CVS, L.L.C., and
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                                                   CVS Pharmacy, Inc., is hereby dismissed with prejudice.
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                                                         IT IS SO ORDERED.
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                                                   Dated: November 5, 2020
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                                                                                   ORDER OF DISMISSAL
